                     Case 1:20-cv-05735-LJL Document 84 Filed 11/05/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 11/5/2020
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In re Bystolic Antitrust Litigation                                    :
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                                                                       :      20-cv-5735 (LJL)
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This Order relates to: All Direct Purchaser Actions                    :          ORDER
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LEWIS J. LIMAN, United States District Judge:

        The Court will hold a hearing on the pending applications to appoint interim lead counsel in the Direct

Purchaser Actions at 4:30 p.m. on Friday, November 6, 2020 by TELEPHONE CONFERENCE. At that date

and time the parties are directed to dial the Court’s teleconference line at 888-251-2909 (access code: 2123101).

At the conference, the parties should be prepared to address:

        1. The relevance of the work that counsel for J M Smith Corp. has done to the factors set forth in Fed.

             R. Civ. P. 23(g)(1)(A);

        2. Whether the motion filed by counsel for J M Smith Corp. presents an all-or-nothing proposition:

             appoint Garwin, Gerstein & Fisher LLP (“Garwin”) and Berger Montague PC (“Berger”) and an

             executive committee or do not appoint Garwin and Berger at all. If the former, why the Court

             should appoint an executive committee;

        3. Each firm’s commitment to diversity.


        SO ORDERED.

Dated: November 5, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
